Case 6:22-cv-00446-WWB-EJK Document 1-3 Filed 03/02/22 Page 1 of 18 PageID 18




                         Exhibit A
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Filing # 139165726 E-Filed 11/24/2021 01:50:58 PM




        FORM 1.997. CIVIL COVER SHEET

        The civil cover sheet and the information contained in it neither replace nor supplement the filing
        and service of pleadings or other documents as required by law. This form must be filed by the
        plaintiff or petitioner with the Clerk of Court for the purpose of reporting uniform data pursuant
        to section 25.075, Florida Statutes. (See instructions for completion.)


                I.      CASE STYLE

                     iN THE CIRCUIT/COUNTY COURT OF THE NINTH JUDICIAL CIRCUIT,
                              IN AND FOR OSCEOLA COUNTY, FLORIDA

        Julisa MolinaVazquez
        Plaintiff                                                                Case #
                                                                                 Judge
        vs.
       Radius Global Solutions LLC
        Defendant



                         AMOUNT OF CLAIM
       Please indicate the estimated amount of the claim, rounded to the nearest dollar. The estimated amount of
       the claim is requested for data collection and clerical processing purposes only. The amount of the claim
       shall not be used for any other purpose.

        Eli $8,000 or less
            $8,001 - $30,000
        0 $30,001- $50,000
        0 $50,001- $75,000
        ID $75,001 - $100,000
        El over $100,000.00

                III.    TYPE OF CASE           (If the case fits more than one type of case, select the most
        definitive category.) If the most descriptive label is a subcategory (is indented under a broader
        category), place an x on both the main category and subcategory lines.
Case 6:22-cv-00446-WWB-EJK Document 1-3 Filed 03/02/22 Page 3 of 18 PageID 20




  CIRCUIT CIVIL

  O Condominium
  O Contracts and indebtedness
  0 Eminent domain
  0 Auto negligence
  0 Negligence—other
         0 Business governance
         O Business torts
         O Environmental/Toxic tort
         O Third party indemnification
         O Construction defect
         O Mass tort
         O Negligent security
         0 Nursing home negligence
         O Premises liability—commercial
         O Premises liability—residential
  O Products liability
  O Real Property/Mortgage foreclosure
        O Commercial foreclosure
        0 Homestead residential foreclosure
        O Non-homestead residential foreclosure
        O Other real property actions

  OProfessional malpractice
        O Malpractice—business
        O Malpractice—medical
        O Malpractice—other professional
  O Other
        O Antitrust/Trade regulation
        O Business transactions
        O Constitutional challenge—statute or ordinance
        O Constitutional challenge—proposed amendment
        O Corporate trusts
        O Discrimination—employment or other
        O Insurance claims
        O Intellectual property
        O Libel/Slander
        O Shareholder derivative action
        O Securities litigation
        O Trade secrets
        O Trust litigation

  COUNTY CIVIL

  O Small Claims up to $8,000
  O Civil
  O Real property/Mortgage foreclosure

                                                  2
Case 6:22-cv-00446-WWB-EJK Document 1-3 Filed 03/02/22 Page 4 of 18 PageID 21




   LI Replevins
   O Evictions
          O Residential Evictions
          O Non-residential Evictions
   O Other civil (non-monetary)

                                        COMPLEX BUSINESS COURT

  This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
  Administrative Order. Yes 0 No

           IV.   REMEDIES SOUGHT (check all that apply):
           • Monetary;
           ▪ Nonmonetary declaratory or injunctive relief;
           O Punitive

           V.     NUMBER OF CAUSES OF ACTION: [
           (Specify)

             4

           VI.    IS THIS CASE A CLASS ACTION LAWSUIT?
                  O yes
                  E] no

          VII. HAS NOTICE OF ANY KNOWN RELATED CASE BEEN FILED?
                21 no
                O yes If "yes," list all related cases by name, case number, and court.

          VIII. IS JURY TRIAL DEMANDED IN COMPLAINT?
                 • yes
                 O no

  I CERTIFY that the information I have provided in this cover sheet is accurate to the best of
  my knowledge and belief, and that I have read and will comply with the requirements of
  Florida Rule of Judicial Administration 2.425.

  Signature: s/ Thomas John Patti III                     Fla. Bar # 118377
                 Attorney or party                                       (Bar # if attorney)

 Thomas John Patti III                             11/24/2021
  (type or print name)                             Date




                                                    3
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Filing # 139165726 E-Filed 11/24/2021 01:50:58 PM


                      IN THE COUNTY COURT OF THE 9TH JUDICIAL CIRCUIT
                            IN AND FOR OSCEOLA COUNTY, FLORIDA

                                                               Case No.
        JULISA MOLINA-VAZQUEZ,

               Plaintiff,

        V.

        RADIUS GLOBAL SOLUTIONS LLC,


               Defendant.


               PLAINTIFF'S FIRST SET OF DISCOVERY REQUESTS TO DEFENDANT

                Plaintiff Julisa Molina-Vazquez propounds the following discovery requests on Defendant
        Radius Global Solutions LLC. Responses to these discovery requests are due forty-five (45) days
        from the below service date. Attached as Appendix "A" are definitions of terms and phrases used
        in these discovery requests.
                The responses to these discovery requests must be sent via e-mail to: Thomas J. Patti,
        Esq., at tom@jibraellaw.com, Bryon Young, at bryon@jibraellaw.com, and Dean Gassert, at
        deanj i braellaw. corn.

                                               CERTIFICATE OF SERVICE

                The undersigned hereby certifies that on November 24, 2021, the foregoing was
        electronically filed with the Clerk of the Court using the CM/ECF system which will send a notice
        of electronic filing to all counsel of record.
                                                                     /s/ Thomas J. Patti
                                                                    THOMAS J. PATTI, ESQ.
                                                                    Florida Bar No. 118377
                                                                    E-mail: tom@jibraellaw.com
                                                                    Phone: 561-542-8550

                                                                                   COUNSEL FOR PLAINTIFF




                                                                                                                    PAGE 1 Of 12
                                         LAW OFFICES OF JIBRAEL S. HINDI, PLLC
                  110 SE 6th Street, 17th Floor I Ft. Lauderdale, Florida 33301 I Phone (954) 907-11361 Fax (855) 529-9540
                                                                        Law.coni
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                                              INTERROGATORIES

  (1)   Describe, step-by-step, the process which resulted in the Collection Letter being
        transmitted to Plaintiff, beginning with the date and method of transmission of Plaintiff's
        information to Defendant, e.g., computer tapes or other media delivered (when, by whom,
        where and to whom); content of computer tape or media; data input (where and by whom);
        computer entry or other means of directing transmission letters (where and by whom entry
        made), letter with debtor information printed (from where and by whom); letter with debtor
        information mailed (from where and by whom), computer tapes or media returned (on what
        occasion, when, by whom and to whom).

        Response:


  (2)   Identify by name and contact information the entity and/or vendor used by Defendant to
        send, prepare, draft, compile, and/or otherwise transmit the Collection Letter to Plaintiff
        An example of such an entity and/or vendor is CompuMail, Inc.

        Response:


  (3)   Identify, by name and contact information, all individuals with knowledge of the identity
        of all vendors and third-party companies used by Defendant in the ordinary course of
        business.

        Response:


  (4)   Identify, by name and contact information, all third-party vendors used by Defendant in
        the operation and normal course of Defendant organization within the last two (2) years.

        Response:


  (5)   Identify all bank accounts and/or credit cards used to transmit payments in the ordinary
        course of business.

        Response:

  (6)   Please state whether or not you sent, or caused to be sent, written correspondence(s)
        addressed to Plaintiff in an attempt to collect upon an account in the Plaintiff's name. If so,
        for each such correspondence, please state the date that the correspondence was sent and
        by whom it was sent.

        Response:

                                                                                                              PAGE I   2 of 12
                                   LAW OFFICES OF JIBRAEL S. HINDI, PLLC
           110 SE 6th Street, 17th Floor I Ft. Lauderdale, Florida 33301 I Phone (954) 907-1136 I Fax (855) 529-9540
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  (7)    For each correspondence identified in your response to interrogatory number six (6) above,
         please state whether or not you utilized, hired, retained, contracted with or otherwise
         engaged a third-party to draft, prepare, generate, print, mail and/or otherwise transmit the
         correspondence. If so, please identity each such third-party by name, address, and
         telephone number, and state how each third-party was utilized. The term "third-party"
         includes, but is not limited to, a printing, letter and/or mailing vendor, an example of which
         is CompuMail, Inc.

         Response:


  (8)    For each third-party identified in your response to interrogatory number seven (7) above,
         please list the information regarding Plaintiff and/or any account in the name of Plaintiff
         that was provided by you to the third-party (e.g. name, address, account number(s), account
         balance(s), account creditor(s), account owner(s), account status(es), date(s) of service,
         etc.) and the manner by which the information was provided.

         Response:



  (9)    For each third-party identified in your response to interrogatory number seven (7) above,
         please describe fully any system(s), file(s), and/or document(s) that were used to transmit
         information regarding Plaintiff to the third-party.

         Response:


  (10)   For each third-party identified in your response to interrogatory number seven (7) above,
         please identify any documents reflecting any agreement(s) or understanding between you
         and the third-party.

         Response:


  (11)   Please identify all individuals employed by you with knowledge of each third-party
         identified in your response to interrogatory number seven (7) above, the relationship
         between you and each third-party, and the manner in which you utilized each third party
         with respect to the correspondence(s) identified in your response to interrogatory number
         six (6) above.

         Response:




                                                                                                              PAGE 1 3 of 12
                                   LAW OFFICES OF JIBRAEL S. HINDI, PLLC
            110 SE 6th Street, 17th Floor j Ft. Lauderdale, Florida 33301 I Phone (954) 907-11361 Fax (855) 529-9540
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Case 6:22-cv-00446-WWB-EJK Document 1-3 Filed 03/02/22 Page 8 of 18 PageID 25




  (12)   List all scrubbing functions performed in the ordinary course of business and the name of
         such scrubbing service providers.

         Response:


  (13)   Identify the documents specified by Rule 69V-180.080, Florida Administrative Code, that
         Defendant maintains.

         Response:


  (14)   Identify the documents specified by Rule 69V-180.080, Florida Administrative Code,
         maintained by Defendant regarding Plaintiff or the Debt that are current within one week
         of the current date.

         Response:


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                                                                                                              PAGE 4 of 12
                                   LAW OFFICES OF JIBRAEL S. HINDI, PLLC
           110 SE 6th Street, 17th Floor I Ft. Lauderdale, Florida 33301 I Phone (954) 907-1136 I Fax (855) 529-9540
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Case 6:22-cv-00446-WWB-EJK Document 1-3 Filed 03/02/22 Page 9 of 18 PageID 26




                        REQUEST FOR PRODUCTION OF DOCUMENTS

         Please produce copies of the following documents:

  (1)    Copies of the documents that Defendant sent to Plaintiff during the two (2) years prior to
         the commencement of the above-captioned action.

  (2)    Copies of the documents utilized or referenced by Defendant to create or draft the
         Collection Letter.

  (3)    Copies of invoices and/or receipts involving or reflecting services that were either paid by,
         or rendered to, Defendant within the last two (2) years.

  (4)    Copies of the documents, including manuals, instructions and guidelines, setting forth the
         policies and procedures of debt collection employed by Defendant during the two (2) years
         prior to the commencement of the above-captioned action.

  (5)    Copies of all agreements and/or contracts with all vendors and/or third-party companies
         used by Defendant in the ordinary course of business.

  (6)    Copies of all communications (including e-mails) regarding and/or involving the use of
         vendors.

  (7)    Copies of all communications discussing, involving, or related to Hunstein v. Preferred
         Collection & Mgmt. Servs., No. 19-14434, 2021 U.S. App. LEXIS 11648 (11th Cir. Apr.
         21, 2021).

  (8)    Copies of bank and credit card statements for the last two (2) years of all accounts used by
         Defendant.

  (9)    A copy of the records specified by Rule 69V-180.080(1) that Defendant is required to
         maintain, and keep up to date within one week of the current date.

  (10)   A copy of the records specified by Rule 69V-180.080(2) that Defendant is required to
         maintain, and keep up to date within one week of the current date.

  (11)   A copy of the records specified by Rule 69V-180.080(3) that Defendant is required to
         maintain, and keep up to date within one week of the current date.

  (12)   A copy of the records specified by Rule 69V-180.080(4) that Defendant is required to
         maintain, and keep up to date within one week of the current date.

  (13)   A copy of the records specified by Rule 69V-180.080(5) that Defendant is required to
         maintain, and keep up to date within one week of the current date.


                                                                                                               PAGE 5 of 12
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            110 SE 6th Street, 17th Floor I Ft. Lauderdale, Florida 33301 I Phone (954) 907-11361 Fax (855) 529-9540
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   (14)   A copy of the records specified by Rule 69V-180.080(6) that Defendant is required to
          maintain, and keep up to date within one week of the current date.

   (15)   A copy of the records specified by Rule 69V-180.080(7) that Defendant is required to
          maintain, and keep up to date within one week of the current date.

   (16)   A copy of the records specified by Rule 69V-180.080(8) that Defendant is required to
          maintain, and keep up to date within one week of the current date.

   (17)   A copy of the records specified by Rule 69V-180.080(9) that Defendant is required to
          maintain, and keep up to date within one week of the current date.

   (18)   A copy of the records specified by Rule 69V-180.080(10) that Defendant is required to
          maintain, and keep up to date within one week of the current date.

   (19)   A copy of the records specified by Rule 69V-180.080(11) that Defendant is required to
          maintain, and keep up to date within one week of the current date.

   (20)   A copy of the "written policies and procedures for the secure handling of all consumer
          documents and information received in the course of collecting a debt from a consumer"
          required by Rule 69V-180.090(2).

   (21)   A complete copy of any insurance policies covering Defendant for violations of the
          FDCPA or FCCPA during the relevant period.

   (22)   Copies of the documents relied or referenced by Defendant in responding to the
          Interrogatories propounded on Defendant in the above-captioned action.

   (23)   Copies of the documents that Defendant was asked to identify in response to Plaintiff's
          interrogatories.

   (24)   Copies of all reports and documents utilized by an expert which Defendant proposes to call
          at trial.

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                                                                                                              PAGE 1 6 of 12
                                    LAW OFFICES OF JIBRAEL S. HINDI, PLLC
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Case 6:22-cv-00446-WWB-EJK Document 1-3 Filed 03/02/22 Page 11 of 18 PageID 28




                                         REQUESTS FOR ADMISSION

          Please admit or deny the following:

   (1)    Admit that the Collection Letter is a true and correct copy of a document Defendant sent
          to Plaintiff.

   (2)    Admit that the Collection Letter is a communication in connection with the collection of a
          debt.

   (3)    Admit that Defendant is a "consumer collection agency" as defined by the FCCPA.

   (4)    Admit that Defendant is actively registered as a consumer collection agency with the
          Florida Office of Financial Regulation.

   (5)    Admit that Defendant maintains all records specified by Rule 69V-180.080, Florida
          Administrative Code.

   (6)    Admit that all records maintained by Defendant, as specified by Rule 69V-180.080, Florida
          Administrative Code, are current to within one week of the current date.

   (7)    Admit that the Debt is a "consumer debt" as defined by the FDCPA;

   (8)    Admit that Defendant is a "debt collector" as defined by of the FDCPA.

   (9)    Admit that Defendant engaged in collection activity by sending the Collection Letter to
          Plaintiff.

   (10)   Admit that you attempted to collect a financial obligation from Plaintiff within the last
          year.

   (11)   Admit that you attempted to collect a financial obligation from Plaintiff within the last year
          that was incurred primarily for personal, family, or household purposes.

   (12)   Admit that you utilized a third-party to generate correspondence addressed to Plaintiff
          within the last year.

   (13)   Admit that you utilized a third-party to print correspondence addressed to Plaintiff within
          the last year.

   (14)   Admit that you utilized a third-party to mail correspondence addressed to Plaintiff within
          the last year.

   (15)   Admit that you utilized a third-party to generate the correspondence addressed to Plaintiff
          that is attached as an exhibit to Plaintiff's Complaint in this case.

                                                                                                              PAGE 1 7 of 12
                                    LAW OFFICES OF JIBRAEL S. HINDI, PLLC
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Case 6:22-cv-00446-WWB-EJK Document 1-3 Filed 03/02/22 Page 12 of 18 PageID 29




   (16)   Admit that you utilized a third-party to print the correspondence addressed to Plaintiff that
          is attached as an exhibit to Plaintiffs Complaint in this case.

   (17)   Admit that you utilized a third-party to mail the correspondence addressed to Plaintiff that
          is attached as an exhibit to Plaintiff's Complaint in this case.

   (18)   Admit that you use an instrumentality of interstate commerce in a business the principal
          purpose of which is the collection of debts.

   (19)   Admit that you use the mails in a business the principal purpose of which is the collection
          of debt.

   (20)   Admit that you regularly collect or attempt to collect, directly or indirectly, debts owed or
          due or asserted to be owed or due another.

   (21)   Admit that Plaintiff did not give consent directly to you to communicate with anyone in
          connection with the collection of a debt from Plaintiff.

   (22)   Admit Defendant utilizes third-party services in the ordinary course of business.

   (23)   Admit that Defendant uses scrubbing services in the ordinary course of business.

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                                                                                                                 PAGE I 8   of 12
                                     LAW OFFICES OF JIBRAEL S. HINDI, P LLC
             110 SE 6th Street, 17th Floor I Ft. Lauderdale, Florida 33301 I Phone (954) 907-1136 I Fax (855) 529-9540
                                                     www.,JibraelLavv.f.toni
Case 6:22-cv-00446-WWB-EJK Document 1-3 Filed 03/02/22 Page 13 of 18 PageID 30




                                                    VERIFICATION
            Under penalties of perjury, 1, the undersigned affiant, declare that I have read the above

   Answers to Interrogatories, and that the Answers are true and correct.



                                                                                   AFFIANT SIGNATURE



                                                                                   PRINTED NAME OF A FFIANT



                                                                                   cApAcrry / TITLE OF AFFIANT


   BEFORE ME, the undersigned authority, personally appeared

   who produced as identification                                                                                        bearing

   number                                                           expiring on                                            who

   did take an oath, who stated that he/she is the person noted above, and that, according to his/her

   best knowledge and belief, the forgoing answers are true and correct.

   Sworn to and subscribed before me, this                           day of                                       ,201




   SIGNATURE OF NOTARY


   PRINTED NAME OF NOTARY




   SEAL OF NOTARY

                                                                                                                PAGE I 9 of 12
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                                       APPENDIX "A" — DEFINITIONS

   (1)    "Action" shall mean the above captioned matter.

   (2)    "Any," "All," and "each" shall be construed as any, all and each.

   (3)    "And" shall mean and/or.

   (4)    "Concern," "concerning," "refer," "referring," "relate, " "relating," "regard," or
          "regarding" shall all mean documents which explicitly or implicitly, in whole or in part,
          compare, were received in conjunction with, or were generated as a result of the subject
          matter of the request, including all documents which reflect, record, specify, memorialize,
          relate, describe, discuss, consider, concern, constitute, embody, evaluate, analyze, refer to,
          review, report on, comment on, impinge upon, or impact the subject matter of the request;

   (5)    "Complaint" means the operative Complaint filed in the above captioned action.

   (6)    "Collection Letter" shall refer to the "Collection Letter" identified in the Complaint.

   (7)    "Communication" or "sent" includes every manner or means of disclosure, transfer, or
          exchange of information, and/or attempt thereof, and every disclosure, transfer or exchange
          of information, whether orally or by document or whether face-to-face, by telephone, mail,
          electronic mail, personal delivery, or otherwise, and/or attempt thereof.

   (8)    "Defendant," "you," and "your" shall mean the above-captioned Defendant, any of its
          directors, officers, sales, agents, managers, supervisors, general agents, agents (including
          attorneys, accountants, consultants, investment advisors or bankers), employees,
          representatives and any other persons purporting to act on their behalf. These defined terms
          include divisions, affiliates, subsidiaries, predecessor entities, acquired entities and/or
          related entities or any other entity acting or purporting to act on its behalf, including those
          who sought to communicate with Plaintiff during the relevant time-period whether by
          letter, e-mail, text message, or any other medium, regardless of whether successful or
          unsuccessful.

   (9)    "Debt" shall refer to the obligation or purported obligation which Defendant sought to
          collect from Plaintiff in the Collection Letter.

   (10)   "Document" means the original, and all non-identical copies (whether different from the
          original because of additional notations or otherwise), of all written, printed, typed,
          recorded, electronically or digitally stored, or graphic matter, however produced or
          reproduced, in the actual or constructive possession, custody, or control of plaintiff
          including, without limitation, all writings, drawings, graphs, charts, photographs,
          photographic records, sound reproduction tapes,. data compilations (whether tangible or
          intangible from which information can be obtained, discerned, or can be translated through
          detection devices into a reasonably usable tangible form), correspondence, memoranda,
          data, notes of conversations, diaries, papers, letters, e-mail communications, telegrams,
                                                                                                              PAGE 110 of   12
                                    LAW OFFICES OF JIBRAEL S. HINDI, PLLC
             110 SE 6th Street, 17th Floor I Ft. Lauderdale, Florida 33301 I Phone (954) 907-1136( Fax (855) 529-9540
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          messages of any kind, minutes of meetings, stenographic or hand-typed and written notes,
          appraisals, bids, account books, checks, invoices, ledgers, agreements, studies, estimates,
          reports, instructions, requests, pamphlets, brochures, applications, returns, pictures, books,
          journals, ledgers, corporate records, accounts, contracts, leaflets, administrative or
          governmental reports or returns, exhibits, maps, surveys, sketches, microfilm, Xerox or
          any other tangible things which constitute or contain matters within the scope of the Fed.
          R. Civ. P. 26, 33, 34 and 36.

   (11)   "FCCPA" means the Florida Consumer Collection Practices Act, Fla. Stat. §559.55 et seq.

   (12)   "FDCPA" means the Fair Debt Collection Practices Act, 15 U.S.C. §1692 et seq.

   (13)   "Including" means: (1) including, but not limited to, or (2) including, without limitation.
          Any examples which follow these phrases are set forth to clarify the request, definition or
          instruction, not limited to the request, definition or instruction.

   (14)   "Identify" with respect to natural person, means to give, to the extent known, the person's
          full name, present or last known address, and when referring to a natural person,
          additionally, the present or last known place of employment. Once a person has been
          identified in accordance with this paragraph, only the name of that person need be listed in
          response to subsequent discovery requesting the identification of that person.

   (15)   "Or" shall mean and/or.

   (16)   "Payment" shall include all available methods of funds tender, including but not limited
          to: cash; money order, a negotiable instrument such as a check, note, or draft; an ACH.
          debit; bank, wire, or electronic-funds transfer; and, credit-card payment.

   (17)   "Person" or "Persons" shall mean natural persons, proprietorships, joint ventures,
          partnerships, corporations, trust, groups, associations, organizations, governmental
          agencies and all other entities.

   (18)   "Plaintiff' or "Plaintiffs" shall mean the above-captioned Plaintiff

   (19)   "Relevant time period," "relevant period" or "during the relevant period" refers to a finite
          length of time, the duration of which is uninterrupted, that begins three years prior to
          commencement of the above captioned action, and ends on November 8, 2021.

   (20)   "Third-party," "third-parties," "vendor," and/or "vendors," shall mean: any person or entity
          other than Plaintiff, Plaintiffs attorney, the current creditor of the Consumer Debt and said
          current creditor's attorney.

   (21)   The phrase "as defined by the FDCPA" shall refer to the meaning and/or definition of a
          particular word or phrase set forth under 15 U.S.C. § 1692a.


                                                                                                              PAGE I 11 of 12
                                     LAW OFFICES OF JIBRAEL S. HINDI, PLLC
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Case 6:22-cv-00446-WWB-EJK Document 1-3 Filed 03/02/22 Page 16 of 18 PageID 33




   (22) The phrase "as defined by the FCCPA" shall refer to the meaning and/or definition of a
          particular word or phrase set forth under Fla. Stat., § 559.55.

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                                                                                                              PAGE I 12 of 12
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   Case 6:22-cv-00446-WWB-EJK Document 1-3 Filed 03/02/22 Page 17 of 18 PageID 34
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                       IN THE COUNTY COURT OF THE 9TH JUDICIAL CIRCUIT
                             IN AND FOR CISCEOLA COUNTY, FLORIDA

                                             Case No..: 2021. CC,004086 CL

        JULISA MOLINA-VAZQUEZ,

                Plaintiff,
                                                                            CIVIL ACTION SUMMONS
         v.

        RADIUS GLOBAL SOLUTIONS LLC,                                     Ai3p#
                Defendant.

                                                                       Nerne
                                                                                                               ,cco
                                                       SUMMONS **„
                                                                                        b     cie
                                                                                                        adgeiom
        THE STATE OF FLORIDA:                                                                 -'s   eXecuteof
        To Each Sheriff of the State:

                 YOU ARE COMMANDED to serve this summons and a copy of the complaint or petition in
        this action on Defendant:

                                               Radius Global Solutions LLC
                                                CIO: CT Corporation System
                                                1200 South Pine Island Road
                                                  Plantation Florida 33324

                Each defendant is required to serve written defenses to the complaint or petition on Plaintifrs
          attorney, Jibmel. S. Hindi, Esq., The Law Offices of Jibrael S. Hindi, KW, 110 SE 6th Street, Suite
          1744, Fort Lauderdale, Florida 33301, within 20 days alter service of this summons on that defendant,
          exclusive of the day of service, and to file the original of the defenses with the clerk of this court either
          before service on Plaintiffs attorney or immediately thereafter. If a defendant fails to do so, a default
          will be entered °gains that dfendant for the relief demanded                        t or petition. •

          DATED 013:         a. t4,                                Kel                  Lo;
Case 6:22-cv-00446-WWB-EJK Document 1-3 Filed 03/02/22 Page 18 of 18 PageID 35




                                               IMPORTANT

            A lawsuit has been filed against you. You have 20 calendar days after this summons is
     served on you to file a written response to the attached complaint with the clerk of this court. A
     phone call will not protect you. Your written response; including the case number given above and
     the names of the parties, must be tiled if you want the court to hear your side of the case. If you
     do not file your response on time, you may. lose the case, and your wages, money, and property
     may thereafter be taken without further warning from the court There are other legal requirements.
     You may want to call an attorney right away.:

              If you do not know an attorney, you may call an attorney referral service or a legal aid
     office (listed in the phone book). If you choose to file a written response yourself, at the same time
     you file your written response to the court you must also mail or take a copy of your written
     response to the "Plaintiff/Plaintiffs Attorney" named below.

                                              IMPORTANTE

             Usted ha side demandado legalmente. Tient 20 dias, contodos a partir del recibo de esta
     notificacion, pars contestar is demands adjunta, per escrito, y presentarla ante este tribunal. Una
     Hamada telefonica no in protegara. Si usted desea que el tribunal considere su defensa, debt
     presentar su respuesta por escrito, incluyendo el numero del case y los nombres de la.s Fules
     interesada.s. Si usted no contests la demands a tiempo, pudiese perder el case y podria ser
     despojado de sus ingresos y propiedades, o privado de sus derechos, sin previo aviso del tribunal.
     Existen otros requisites legates. Si lo desea, puede usted consultar a un abogado inmediatamente.
     Si no conoce a un abogado, puede Hamar a una de las oficinas de asistencia legal que aparecen en
     la guia telefonica.

            Si desea responder a la demanda pot su cuenta, al mismo tiempo en que presenta su
     respuesta ante el tribunal, debera usted enviar per correo o entregar tins copia de su respuesta a is
     persona denominada abajo como "Plaintiff/Plaintiffs Attorney" (Demandante o Abogado del
     Demandante).
            Dated: February 9,2022
                                                                Respectfully Submitted,

                                                                 /a/ Thomas J. Patti
                                                                JIBRAEL S. HINDI, ESQ.
                                                                Florida Bar No.: 118259
                                                                          jibrael@jibraellaw,com
                                                                THOMAS J. PATIT, ESQ.
                                                                Florida Bar No.: 11E377
                                                                E-mail: tom@jibracllsw.com
                                                                The Law Offices of Jibrael S , Hindi
                                                                110 SE 6th Street, Suite 1744
                                                                Fort Lauderdale, Florida 33301
                                                                Phone:     954-907-1136
                                                                 COUNSEL FOR PLAINTIFF
